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                      Exhibit A
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Dotdash Meredith Database – Enhanced Masterfile                                                   (Updated 6/2023)

Subscribers and buyers of books and magazines published by Dotdash Meredith® have been merged
and enhanced to provide a slice of lifestyle for every niche consumer marketer.

Gender:                                  Source:
79% Female/17% Male                      Direct Mail Sold


Counts and Rates:                                                  Selections:
                                                                   1 Mo Hotline                                  $17/M
 7,499,000      Total Universe                   $115/M            3 Mo Hotline                                  $12/M
                Engagement Scores               +$16/M             6 Mo Hotline                                  $9/M
                1 Mo Hotline                    +$17/M             3 Mo Change of Address                        $12/M
                3 Mo Hotline                    +$12/M             Enhancements/Lifestyle Interests              $16/M
                6 Mo Hotline                    +$9/M              DMS/DTP                                       $12/M
                Expires                          $75/M             Paid                                          $12/M
                Catalog Rate                     $85/M             Gender                                        $9/M
                Fundraising Rate                 $80/M             State/SCF/Zip                                 $10/M
Knowledge of the home and family market forms the                  Zip Select (4 or more areas)                  $15/M
cornerstone of Dotdash Meredith. Dedicated to                      Age                                           $16/M
building enduring relationships with its devoted                   Income                                        $16/M
customer base, it publishes a variety of magazines                 3rd Party Blow-In                             $10/M
focused on creating a better home life for millions of
Americans. From growing families to new movers to                  Addressing (flat fee):
the wealthiest households in America, the Dotdash                    Key Coding                        $3.50/M
Meredith Masterfile provides unrivaled access to the                 Email/FTP                         $65/F
most important niches in consumer direct marketing.
The 10 million active subscribers and buyers of
                                                                   Minimum Order: 10,000
Dotdash Meredith magazines, books, and craft
products comprise America's richest resource of
                                                                   Details:
home-and-family consumers.
                                                                   15% Commission to Brokers. Pre-clearance
                                                                   required. Service bureau requires 3 working days
This file includes the subscribers of:                             to process all orders, otherwise $85 Flat fee
All Recipes®, American Patchwork & Quilting®, Better               applies.
Homes and Gardens®, Coastal Living®, Cooking
Light®, Country Home®, Do It Yourself®, Food &                                                               Contact:
                                                                                         Monique Adams, List Manager
Wine®, Midwest Living®, People®, People
                                                                             E-mail: MoAdams@AudienceFirstMedia.com
Royals®, Real Simple®, Southern Living®, Traditional
Home®, Travel + Leisure®, and Wood® (+ Meredith                                                      Linda Amaral, Sales
Book Buyers)                                                                              Phone: (410) 721-5700 Ext. 2330
                                                                               E-mail: lamaral@audiencefirstmedia.com

                                                                                  Please send list clearances & orders to:
                                                                                       orders@AudienceFirstMedia.com




All processed orders cancelled before mail date will incur a $100 cancellation fee in addition to applicable running,
              selection, and shipping charges. Orders cancelled after the mail date incur full charges.

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Age                                                       Health/Exercise
537,634         18-24                                     8,440,429     Health & Fitness
2,087,310       25-34
                                                          5,211,868     Dieting / Weight Loss
2,650,624       35-44                                     1,876,835     Walking
6,507,017       45-64                                       349,234     Running/Jogging
4,239,139       65+
                                                          Sports
Income                                                      966,987        Auto/Moto Racing
3,214,977       0-29,999
                                                          2,460,531        Football
2,344,755       30,000-49,999                             1,635,217        Baseball
2,807,646       50,000-74,999                             1,475,090        Basketball
4,206,648       75,000-124,999                                3,726        Tennis
3,450,000       125,000+                                  1,122,901        Golf
                                                            494,088        Hockey
Lifestyle Interest
                                                            110,182        Soccer
    76,837       Arts                                       149,043        Skiing
6,752,000        Avid Music Listener                        514,400        Equestrian
4,337,704        Bible Devotional
   123,352       Cat Owners                               Computer/Electronics
2,928,562        Collectibles
                                                          11,073,009   Home Computer owner
   152,685       Dog Owners
                                                          10,348,471   Internet/Online Service
2,354,226        General Merchandise                         164,416   Cell Phones
5,838,406        Home Improvement
3,349,658        Investing/Finance                        Outdoors
1,208,707        Men's Apparel                            2,000,000        Fishing
2,643,388        Video Buyers
                                                          3,500,000        Camping/Hiking
5,484,668        Wines/Gourmet Foods
                                                          2,500,000        Hunting/Shooting
3,809,343        Women's Apparel
                                                          Home Décor
Travel                                                    4,375,319        Home Furnishings/Decor
6,745,828       US                                        3,415,435        Gardening
2,421,650       Foreign
3,375,497       Rec. Vehicles                             Ethnicity
3,051,675       Cruises                                     965,122        African American
                                                            220,995        Asian
Hobbies/Crafts                                              796,019        Hispanic
2,318,642      Photography                                  225,426        Jewish
  873,926      Woodworking
   74,000      Board Games/Puzzles                        Political Views
4,098,567      Crafts                                      329,824        Republican
   18,130      Sewing/Knit/Needlework                      298,573        Democratic
Reading
11,000,000      General Reading
 1,299,631      Religious/Inspirational
   384,179      Science Fiction
14,204,439      Magazines




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